     Case 12-15822-mdc            Doc 8 Filed 06/19/12 Entered 06/19/12 09:39:49                        Desc Order
                                     Requiring Documents Page 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                     Chapter: 7
         Laura Waldman
                              Debtor(s)                    Bankruptcy No: 12−15822−jkf



                                           ORDER


   AND NOW, this June 19, 2012 , the debtor having failed to file or submit with the petition all of the

documents required by Fed. R. Bankr. P. 1007,
   And the following documents are missing


                      Matrix List of Creditors due 06/22/2012. Statement of Current
                      Monthly Income due 06/29/2012. Schedules A−J due 06/29/2012.
                      Statement of Financial Affairs due 06/29/2012. Summary of
                      schedules due 06/29/2012. Statistical Summary of Certain
                      Liabilities due 06/29/2012.

   It is hereby ORDERED that, if the debtor has not filed the Matrix List of Creditors (as required

by L.B.R. 1007−2) or the Certificate of Credit Counseling or a Request for a Waiver from the Credit

Counseling Requirement, then those documents are due within 7 days of the filing of the petition or

else this case may be dismissed without additional notice or hearing after that date.



   It is further ORDERED that all other missing documents are due within 14 days of the date of the filing

of the petition, unless an extension for cause, sought prior to the expiration of 14 days, is granted. If not,

this case may be dismissed without additional notice or hearing after 6/29/12 .




                                                         By the Court

                                                         Jean K. FitzSimon
                                                         Judge , United States Bankruptcy Court
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